                    IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


RONNIE WALLACE LONG,                         )
        Petitioner,                          )
                                             )
      v.                                     )   1:16-CV-539
                                             )
FRANK L. PERRY,                              )
         Respondent.                         )

                                      JUDGMENT

       For the reasons set forth in the Magistrate Judge’s Recommendation and in the

Order filed contemporaneously with this Judgment,

       IT IS HEREBY ORDERED AND ADJUDGED that Respondent’s Motion for

Summary Judgment, Doc. 5, is GRANTED in part and DENIED in part, in that

Judgment is entered dismissing this action without prejudice pending Petitioner’s

exhaustion of his fingerprint-based Brady claim in the state courts, without issuance of a

certificate of appealability.

       This the 1st day of February, 2017.


                                          _______________________________
                                          UNITED STATES DISTRICT JUDGE




      Case 1:16-cv-00539-CCE-LPA Document 22 Filed 02/01/17 Page 1 of 1
